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                    IN THE UNITED STATES DISTRICT COURT OF
                           THE DISTRICT OF COLUMBIA
______________________________________
                                          )
DELYAN SLAVCHEV PEEVSKI,                  )
                                          )
               and                        )
                                          )
INT LTD EEOD                              )
Sofia 1618                                )
79 Ralevitsa Street,                      )
                                          )
               and                        )
                                          )
INTRUST PLC EAD                           )
Sofia 1618                                )
79 Ralevitsa Street,                      )
                                          )
               and                        )
                                          )
BM SYSTEMS EAD                            )
Sofia 1527                                )
119 Ekzarh Yosif Street,                  )
                                          )
               and                        )
                                          )
INT INVEST EOOD                           )
Sofia 1618                                )
79 Ralevitsa Street,                      )
                                          )
               and                        )
                                          )
INTTRAFIK EOOD                            )
Sofia 1618                                )
102 Bulgaria Boulevard,                   )
                                          )
               and                        )
                                          )
REAL ESTATES INT LTD EOOD                 )
Sofia 1618                                )
79 Ralevitsa Street                       )
                                          )
       Plaintiffs.                        )
                                          )
               v.                         )
                                          )

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                                                )
JANET YELLEN                                    )
in her official capacity as the                 )
Secretary of the U.S. Department of Treasury )
1500 Pennsylvania Ave., NW                      )
Washington, D.C. 20220                          )
                                                )
                 and                            )
                                                )
THE UNITED STATES DEPARTMENT OF                 )
THE TREASURY                                    )
1500 Pennsylvania Ave., NW                      )
Washington, D.C. 20220                          )
                                                )
                 and                            )
                                                )
ANDREA M. GACKI                                 )   Civil No.: 1:22-cv-2334
in her official capacity as the Director of the )
United States Department of the Treasury        )
Office of Foreign Assets Control                )
1500 Pennsylvania Avenue, NW                    )
Washington, D.C. 20220                          )
                                                )
                 and                            )
                                                )
THE UNITED STATES DEPARTMENT                    )
OF THE TREASURY OFFICE OF FOREIGN )
ASSETS CONTROL                                  )
1500 Pennsylvania Avenue, NW                    )
Freedman’s Bank Building                        )
Washington, D.C. 20220                          )
                                                )
                 and                            )
                                                )
ANTHONY J. BLINKEN                              )
in his official capacity as the                 )
Secretary of the U.S. Department of State       )
2201 C Street, NW                               )
Washington, D.C. 20520                          )
                                                )
                 and                            )
                                                )
THE UNITED STATES DEPARTMENT OF                 )
STATE                                           )
2201 C Street, NW                               )
Washington, D.C. 20520                          )

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                                                 )
                and                              )
                                                 )
TODD D. ROBINSON                                 )
in his official capacity as the                  )
Assistant Secretary of the                       )
United States Department of State                )
Bureau of International Narcotics and Law        )
Enforcement Affairs                              )
2201 C Street, NW                                )
Washington, D.C. 20520                           )
                                                 )
                and                              )
                                                 )
THE UNITED STATES DEPARTMENT                     )
OF STATE BUREAU OF INTERNATIONAL                 )
NARCOTICS AND LAW ENFORCEMENT                    )
AFFAIRS                                          )
2201 C Street, NW                                )
Washington, D.C. 20520                           )
                                                 )
          Defendants.                            )


                                 AMENDED COMPLAINT

          Plaintiffs, Delyan Slavchev Peevski, Int Ltd EOOD, Intrust PLC EAD, BM Systems

EAD, Int Invest EOOD, Inttrafik EOOD, and Real Estates Int Ltd EOOD, by and through

their undersigned counsel, bring this Amended Complaint against Defendants, the United

States Department of the Treasury, the United States Department of State (collectively

the “Departments”), their respective Secretaries, Janet Yellen and Anthony J. Blinken, the

United States Department of the Treasury’s Office of Foreign Assets Control (“OFAC”)

and its Director, Andrea M. Gacki, and the United States Department of State’s Bureau

of International Narcotics and Law Enforcement Affairs and its lead official, Assistant

Secretary Todd D. Robinson (collectively “Defendants”), and in support of their complaint

allege:



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                                  NATURE OF THE CASE

        1.    On June 2, 2021, OFAC imposed blocking sanctions on Mr. Peevski

pursuant to Executive Order (“EO”) 13818, issued pursuant to the International

Emergency Economic Powers Act, 50 U.S.C. § 1701 et seq. EO 13818 builds upon the

Global Magnitsky Human Rights Accountability Act, 22 U.S.C. § 2656 et seq. (“GMA”).

The remaining Plaintiffs were sanctioned as being “owned or controlled” by Mr. Peevski

or “one of his companies.” As a result of those sanctions, Plaintiffs became Specially

Designated Nationals (“SDN”) and their names were added to OFAC’s Specially

Designated Nationals and Blocked Persons List (the “SDN List”).

        2.    Under these sanctions, all of Plaintiffs’ property and interests in property

within the United States or within the possession or control of U.S. persons, wherever

located, are blocked, and cannot be transferred, paid, exported, withdrawn or otherwise

dealt in by U.S. persons. EO 13818 § 1(a). Further, U.S. persons are generally prohibited

from engaging in any transactions or dealings with any persons on the SDN List. Id. §§

1, 4.

        3.    EO 13818 also stipulates that non-U.S. persons who “have materially

assisted, sponsored, or provided financial, material, or technological support for, or goods

or services in support of” Plaintiffs risk being added to the SDN List. Id. § 1(a)(iii)(A).

        4.    As a result of OFAC’s action, Plaintiffs have been essentially cut off from

the global financial system involving U.S. institutions. OFAC’s jurisdiction reaches foreign

financial institutions that rely on the U.S. financial system and threatens them with a loss

of commercially significant access should they violate U.S. sanctions.            Even where

general and specific licenses exist, OFAC’s threats of action cause these institutions to



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“over-comply” and refuse to undertake activities with Plaintiffs for fear of being subject to

OFAC’s scrutiny.

       5.     The U.S. Department of State (“State”) simultaneously imposed visa

sanctions against Plaintiff Mr. Peevski (and Mr. Peevski’s two minor children) under

Section 7031(c) of the Department of State, Foreign Operations, and Related Programs

Appropriations Act of 2021, Pub. L. No 116-94 (“FORPA”), publicly identifying Mr. Peevski

and his two minor children as ineligible for entry into the United States pursuant to

FORPA.

       6.     Section 7031(c) of FORPA allows State to impose sanctions only upon

“officials of foreign governments” and the immediate family members of such officials. At

the time of Mr. Peevski’s designation, however, Mr. Peevski was not an “officials of [a]

foreign government[].”

       7.     OFAC’s and State’s actions have predictably, and purposefully, caused

Plaintiffs substantial harm. Therefore, shortly after their designation, Plaintiffs notified

OFAC they would be seeking removal from the SDN List using the regulatory process

provided for in 31 C.F.R. § 501.807, which provides the “Procedures governing delisting

from the Specially Designated Nationals and Blocked Persons List.”

       8.     At the time Plaintiffs filed their initial Complaint, the only explanations for

Plaintiffs’ designation were those contained in OFAC’s press release of June 2, 2021,

and a similar press release from State on that same date. OFAC’s press release can be

found at: https://home.treasury.gov/news/press-releases/jy0208. State’s press release

can   be    found   at:   https://www.state.gov/public-designation-of-five-bulgarian-public-

officials-due-to-involvement-in-significant-corruption/.   These press releases, which



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constituted the entirety of the record against Plaintiffs at that time, make unsubstantiated,

broad allegations against Mr. Peevski, provide no evidentiary support for any of those

allegations, and contain no specifics concerning the actual reasons or bases for the

designations. No allegations are made against any Plaintiff except Mr. Peevski. The

entity Plaintiffs were designated solely on the basis of his ownership or control of them.

       9.     To meaningfully avail themselves of the right to seek reconsideration of

these unsupported designations, beginning in July 2021 Plaintiffs sought the complete

record supporting the decisions to impose these sanctions.

       10.    Despite Plaintiffs’ multiple and repeated requests, Defendants failed for

more than a year to produce a single record providing any justification for the designations

beyond the vague generalities in the two press releases. Only after this litigation was

filed did Defendants produce what it represents is the administrative record.           The

production includes a document represented to be an internal department memorandum

containing the reasons and bases for the designations. However, that document is almost

completed redacted, providing Plaintiffs with only a single Internet citation as the

justification for OFAC’s action.

       11.    Defendants’ undue and unreasonable delay and refusal to produce the

evidence relied on to support their sanctions actions violates the Administrative

Procedure Act. By refusing to provide information necessary for Plaintiffs to effectively

seek delisting, Defendants have vitiated the rights granted by section 501.807. Even after

the litigation commenced, Defendants provided an almost completely-redacted

administrative record. Accordingly, the Court should hold unlawful and set aside the

sanctions imposed on Plaintiffs and provide the other relief outlined in this Complaint.



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       12.    OFAC’s and State’s refusal to produce any other information requires that

they be limited solely to that information made available before the litigation began: the

press releases dated June 2, 2021. They should not be permitted to benefit from their

dilatory tactics. The information in those press releases is inadequate as a matter of law

to sustain the designations.

       13.    Plaintiffs also request that the Court prohibit OFAC and State from

sanctioning them for any alleged action(s) occurring up to the date of the original

designation—June 2, 2021—due to Defendants’ actions.

       14.    State’s separate action under section 7031(c) is also improper. That law

authorizes State to sanction a current government official. However, at the time of his

designation, Peevski was not a “government official” within the meaning of section

7031(c). Therefore, that action violates the Administrative Procedure Act and constitutes

ultra vires agency action.

                               JURISDICTION AND VENUE

       15.    The Court has jurisdiction under 28 U.S.C. § 1331 as this action arises

under the laws of the United States.

       16.    Venue is proper in the District of Columbia pursuant to 28 U.S.C. § 1391(e).

                                          PARTIES

       17.    Plaintiff Delyan Slavchev Peevski is a citizen of Bulgaria. On June 2, 2021,

Mr. Peevski was sanctioned by both OFAC and State, and was added to the SDN List

maintained and administered by OFAC. State’s sanctions rendered Mr. Peevski and his

children ineligible for entry into the United States.




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      18.    Plaintiff Int Ltd EOOD is a Bulgarian entity that is owned and/or controlled

by Mr. Peevski and has been designated solely on that basis. On June 2, 2021, Int Ltd

EOOD was sanctioned by, and was added to the SDN List maintained and administered

by, OFAC. Int Ltd EOOD is located at Sofia 1618, 79 Ralevitsa Street.

      19.    Plaintiff Intrust PLC EAD is a Bulgarian entity that is owned and/or controlled

by Mr. Peevski and has been designated solely on that basis. On June 2, 2021, Intrust

PLC EAD was sanctioned by, and was added to the SDN List maintained and

administered by, OFAC. Intrust PLC EAD is located at Sofia 1618, 79 Ralevitsa Street.

      20.    Plaintiff BM Systems EAD was a Bulgarian entity that was owned and/or

controlled by Mr. Peevski and has been designated solely on that basis. On June 2, 2021,

BM Systems EAD was sanctioned by, and was added to the SDN List maintained and

administered by, OFAC. BM Systems EAD was located at Sofia 1527, 119 Ekzarh Yosif

Street. Upon information and belief, BM Systems EAD is no longer an existing entity.

      21.    Plaintiff Int Invest EOOD is a Bulgarian entity that is owned and/or controlled

by Mr. Peevski and has been designated solely on that basis. On June 2, 2021, Int Invest

EOOD was sanctioned by, and was added to the SDN List maintained and administered

by, OFAC. Int Invest EEOD is located at Sofia 1618, 79 Ralevitsa Street.

      22.    Plaintiff Inttrafik EOOD is a Bulgarian entity that is owned and/or controlled

by Mr. Peevski and has been designated solely on that basis. On June 2, 2021, Inttrafik

EOOD was sanctioned by, and was added to the SDN List maintained and administered

by, OFAC. Inttrafik EEOD is located at Sofia 1618, 102 Bulgaria Boulevard.

      23.    Plaintiff Real Estates Int Ltd EOOD is a Bulgarian entity that is owned and/or

controlled by Mr. Peevski and has been designated solely on that basis. On June 2, 2021,



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Real Estates Int Ltd EOOD was sanctioned by, and was added to the SDN List maintained

and administered by, OFAC. Real Estates Int Ltd EOOD is located at Sofia 1618, 79

Ralevitsa Street.

       24.     Defendant OFAC is a federal administrative agency of the U.S. Department

of the Treasury and is located at 1500 Pennsylvania Ave., NW, Freedman’s Bank

Building, Washington, D.C. 20220. OFAC is responsible for administering U.S. economic

sanctions programs, including by developing and issuing regulations pursuant to the laws

and executive orders that authorize economic sanctions actions. OFAC is also the

primary agency responsible for designating persons as SDNs and enforcing U.S.

sanctions. OFAC’s sanctions responsibilities include designations and implementation

under the GMA and EO 13818.

       25.     Upon information and belief, Defendant Department of State’s Bureau of

International Narcotics and Law Enforcement Affairs (“INL”) is responsible for addressing

transnational crime and corruption. INL is also responsible for designations under the

GMA and pursuant to section 7031(c) of the Department of State, Foreign Operations,

and Related Programs Appropriations Act, 2021. The Department of State is located at

2201 C St., NW, Washington, DC 20520.

       26.     Defendant Janet Yellen is the Secretary of the Treasury of the United

States. Ms. Yellen is sued in her official capacity.

       27.     Defendant Andrea M. Gacki is the Director of OFAC. Ms. Gacki is sued in

her official capacity.

       28.     Defendant Anthony Blinken is the Secretary of State of the United States.

Mr. Blinken is sued in his official capacity.



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       29.    Defendant Todd D. Robinson is the Assistant Secretary of the Bureau of

International Narcotics and Law Enforcement Affairs. Mr. Robinson is sued in his official

capacity.

                    STATEMENT OF FACTS AND ALLEGATIONS

       30.    This lawsuit arises out of State’s decision to act outside its statutory

authority and OFAC’s failure to abide by its own regulations.          As a result of the

Defendants’ unlawful actions, Plaintiff Peevski has been erroneously publicly designated

as subject to section 7031(c) sanctions. Defendants have collectively been subject to full

blocking sanctions while being denied the reasons and bases for the imposition of

sanctions against them, and effectively, the opportunity to submit relevant information to

rebut the agency’s allegations.

       31.    State acted outside its statutory authority in designating Mr. Peevski under

section 7031(c), and provides no reasons or bases for its action other than vague

generalizations.

       32.    OFAC has failed to articulate facts that support Plaintiffs’ designations. For

more than 15 months, OFAC refused to produce an administrative record in support of its

designation, despite multiple requests for the information the agency relied on to

substantiate its actions. State has been similarly recalcitrant, despite FOIA requests for

supporting information.    Only after this litigation was filed did OFAC identify the

administrative record. When it ultimately provided what it deemed the record, the lone

document was almost completely redacted, with only one Internet reference provided.

       33.    On June 2, 2021, OFAC added Plaintiffs to the SDN List along with six

entities owned or controlled by Plaintiffs. Those six entities are: Int Ltd EOOD and Intrust



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PLC EAD (which OFAC identified as owned or controlled by Plaintiffs), and BM Systems

EAD, Int Invest EOOD, Inttrafik EOOD, and Real Estates Int Ltd EOOD (which are owned

or controlled by Intrust PLC EAD).

       34.    Simultaneously, State imposed sanctions against Mr. Peevski (and his two

children) under Section 7031(c) of the FORPA. Section 7031(c) states that “officials of

foreign governments and their immediate family members” shall be ineligible for entry into

the United States when State has “credible information” that they have been involved in

“significant” corruption.

       35.    Section 7031(c) is self-effectuating insofar as entry eligibility is concerned,

once State makes the requisite findings. The law grants State the discretion to “publicly

or privately” designate persons identified under it. FORPA is limited to “officials of foreign

governments and their immediate family members” and does not identify any other

classes of persons to whom it may be applied. Nothing in FORPA provides State with

discretion to broaden its application beyond such persons.

       36.    As admitted in State’s press release of June 3, 2021, at the time of his

designation, Peevski was no longer a member of the Bulgarian Parliament. He therefore

was not an “official of [a] foreign government[].”   By imposing sanctions on individuals

not subject to them, State acted outside its statutory authority under Section 7031(c). The

press release does not assert that on June 2, 2021, Peevski was an “official of [a] foreign

government[].”

       37.    The agencies also did not provide adequate information concerning the

reasons and bases for their actions as required by the APA of their decisions and

reasoning. The only notice, official or otherwise, of these sanctions were two press



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releases—one from OFAC, and another from State—and an essentially redundant

(though even less informative) notice by OFAC in the Federal Register on June 8, 2021

(86 Fed. Reg. 30517). Neither agency provides notice directly to designated persons.

       38.    The press releases provide limited, general allegations concerning behavior

or actions that the respective agencies claim support the designations. Neither press

release includes allegations of specific actions; and to date, despite repeated requests,

neither agency has identified specific actions that support the designations. For example,

OFAC alleges broadly that Mr. Peevski was indirectly involved with “selling” residency

documents to foreign persons but does not allege or identify any specific occurrences.

       39.    The vagueness of these allegations frustrated Bulgarian authorities who

investigated the assertions independently, and concluded that the allegations in the

Departments’ press releases were not substantiated.

       40.    OFAC’s press release also asserts that Mr. Peevski “has regularly engaged

in corruption, using influence peddling and bribes,” but contains no specific facts to

support these allegations. The press release states that Mr. Peevski “actively worked to

negatively influence the Bulgarian political process in the October 27, 2019, municipal

elections,” asserting that he “negotiated with politicians to provide them with political

support and positive media coverage in return for receiving protection from criminal

investigations.” (OFAC has since informed Plaintiffs that the sanctions determination did

not rely on this claim, thus belying any assertion that the “reasons and bases” for the

sanctions determination are addressed in the press releases. Surely, the agency cannot

base its decision on false flag allegations). The lack of specificity regarding these claims

similarly frustrated the Bulgarian authorities, who concluded that there was no evidence



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to support them, and that the generality of these claims rendered further investigation

fruitless. The inclusion of allegations deemed inapplicable by OFAC would appear to

support this result.

       41.    OFAC’s “examples” make vague assertions about relationships that Mr.

Peevski allegedly has with third parties.       For example, OFAC asserts that another

individual, Dimitrov Zhelyazkov, who OFAC claims “was known for offering bribes to

senior Bulgarian government officials” acted on behalf of Mr. Peevski. These “officials”

were allegedly “expected to provide information . . . for onward passage” to Mr. Peevski

and “[i]n return . . . were placed in positions of authority and also provided a monthly

bribe.” OFAC has provided no evidence to support these allegations and conclusions.

       42.        OFAC also asserts that Mr. Peevski “had an official placed in a leadership

position to embezzle funds to them in 2019.” OFAC does not describe how or why such

action took place or could have taken place, explain how Mr. Peevski could make such

arrangements, nor provide any details concerning any supporting fact. Nor does OFAC

include anything identifying the official allegedly placed, the monies allegedly paid or

embezzled, the manner in which the alleged embezzlement occurred, or any other

pertinent fact.

       43.    OFAC’s press release further alleges that Mr. Peevski and an accomplice

“ran a scheme to sell Bulgarian residency documents where company representatives

purportedly paid bribes to Bulgarian officials to ensure their clients received citizenship

documents immediately rather than making the $500,000 deposit or waiting the five years

for a legitimate request to be processed.” Like with the other allegations, OFAC provides




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no information other than these conclusory assertions, having confirmed only that it does

allege that Mr. Peevski himself took these actions, but that others acted on his behalf.

       44.    Without any factual support for its allegations, OFAC concludes, parroting

the GMA and EO 13818, that Mr. Peevski is “responsible for or complicit in, or who have

directly or indirectly engaged in, corruption, including the misappropriation of state assets,

the expropriation of private assets for personal gain, corruption related to government

contracts or the extraction of natural resources, or bribery.” State does not explain how

these allegation make Mr. Peevski an “official of [a] foreign government[].”

       45.     State’s press release is even less informative, justifying its action on the

following: “In his capacity as a member of parliament, Mr. Peevski used Zhelyazkov, an

official in the National Bureau for Control on Special Intelligence-Gathering Devices, as

an intermediary and accomplice to peddle influence and pay bribes to protect himself from

public scrutiny and to exert influence over key institutions and sectors in Bulgarian

society.”

       46.    Shortly after OFAC and State imposed sanctions, Plaintiffs made their initial

request for the information and any facts and evidence that the agencies relied on for the

designations. Over the course of the following year, Plaintiffs made multiple requests for

that information.

       47.    Despite representing that the “administrative record” would be forthcoming

within “weeks,” Plaintiffs did not receive any part of the record upon which OFAC and

State allegedly relied in making their determinations until after this litigation was filed.

When the alleged administrative record was provided, almost all information was




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redacted. The only remaining information referred to a single Internet citation, which itself

relied on notoriously unreliable Internet sources such as Wikipedia.

       48.    Plaintiffs have now been sanctioned for more than 18 months, during which

time they have not had access to the U.S. financial system. For example, this prohibits

banks around the world with correspondent status in the U.S. (which is the vast majority

of banks in the world) from dealing with Plaintiffs, as well as any other entity with business

activities in the U.S. All of these consequences flow from OFAC’s improper designation

of Plaintiffs as an SDN.

       49.    Despite Plaintiffs’ requests and repeated representations from Defendants

that an “administrative record” supporting these allegations exists, Defendants have failed

to provide a scintilla of evidence in support of their press statements.         Defendants

maintain these sanctions despite failing to provide factual support or bases for their

actions.

       50.    The lack of evidentiary support in the OFAC and State press releases

renders the designations unsupportable. In fact, Bulgaria’s Office of Special Prosecutor

investigated the general allegations in the agencies’ press releases and, after spending

several months attempting to independently corroborate these general statements,

concluded that there was no evidence to support the agencies’ assertions. The Special

Prosecutor determined that the lack of specificity made it impossible to confirm the US

government’s allegations.

       51.    Plaintiffs are subject to these sanctions indefinitely. Unable to see the

evidence used to impose the sanctions, Plaintiffs are hamstrung in their ability to seek

administrative relief. Defendants’ actions effectively force Plaintiffs to seek a delisting



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under 31 C.F.R. § 501.807 and to show that an “insufficient basis exists” for the sanctions

without knowing Defendants’ reasons for the actions.

        52.   On multiple occasions, Plaintiffs reminded OFAC that its failure to produce

the “administrative record” has prejudiced Plaintiffs and continues to cause Plaintiffs

harm.

        53.   Classification of certain materials cannot excuse the extreme and

prejudicial delay. Plaintiffs requested that OFAC provide Plaintiffs with the unclassified

portions of the administrative record so Plaintiffs could understand and address the

allegations against him. OFAC declined that request.

        54.   Despite OFAC’s continuing inability to provide any further evidence of

record, Plaintiffs provided responses to questions issued by OFAC on March 8, 2022. In

their responses, Plaintiffs reiterated their concerns with OFAC’s failure to provide an

administrative record and that this refusal continued to work to Plaintiffs’ detriment.

        55.   For more than a year after Plaintiffs were designated by OFAC, and not until

this action was brought, the agency failed to produce an administrative record supporting

their continued designation, leading to the inevitable conclusion that Defendants lack any

further evidence on which to base the designation.

                                  CAUSES OF ACTION

                                   COUNT I
              VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT—
                          IMPOSITION OF SANCTIONS
                            (AGAINST STATE ONLY)

        56.   Paragraphs 1 through 55 are re-alleged and incorporated by reference as

though fully set forth therein.




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       57.     Under the Administrative Procedure Act, agency actions, findings, and

conclusions found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law shall be held unlawful by a reviewing court and set aside. 5 U.S.C.

§ 706(2)(A).

       58.     Under the Administrative Procedure Act, a reviewing court shall also set

aside any agency action in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right. 5 U.S.C. § 706(2)(C).

       59.     The State Defendants’ imposition of section 7031(c) sanctions on Mr.

Peevski (and by extension his family members), who at the time of the imposition was no

longer an “official of [a] foreign government[],” was not in accordance with law because

section 7031(c) may only be imposed upon persons who are “officials of foreign

governments.”

       60.     The State Defendants’ imposition of section 7031(c) sanctions on Mr.

Peevski was in excess of State’s statutory jurisdiction and authority.

       61.     State’s imposition of sanctions upon Mr. Peevski’s family members is only

proper if the sanctions upon Mr. Peevski himself are valid. They are not, and therefore

neither are the sanctions upon individuals within Mr. Peevski’s family.

       62.     The Court should therefore hold unlawful and set aside State’s imposition

of sanctions upon Mr. Peevski and his family members.

                                     COUNT II
                           ULTRA VIRES AGENCY ACTION—
                             IMPOSITION OF SANCTIONS
                               (AGAINST STATE ONLY)

       63.     Paragraphs 1 through 62 are re-alleged and incorporated by reference as

though fully set forth therein.

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       64.    Independent of the Administrative Procedure Act, the Court may set aside

agency actions as ultra vires when an agency acts beyond its legal authority.

       65.    State’s imposition of sanctions was ultra vires for the same reasons stated

in Count I: section 7031(c) covers only officials of foreign governments, and at the time

Mr. Peevski was sanctioned, Mr. Peevski was not an official of the Bulgarian government.

       66.    The Court should therefore hold unlawful and set aside State’s imposition

of section 7031(c) sanctions upon Mr. Peevski and his family members.

                                  COUNT III
             VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT—
                          IMPOSITION OF SANCTIONS
                         (AGAINST ALL DEFENDANTS)

       67.    Paragraphs 1 through 55 are re-alleged and incorporated by reference as

though fully set forth therein.

       68.    Under the Administrative Procedure Act, agency action, findings, and

conclusions found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law, 5 U.S.C. § 706(2)(A), and agency action found to be without

observance of procedure required by law, 5 U.S.C. § 706(2)(D), shall be held unlawful by

a reviewing court and set aside.

       69.    Defendants’ imposition of sanctions on Plaintiffs on the only record made

available—two press releases—lacks facts and circumstances adequate to support that

action and is therefore arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with the law.

       70.    Defendants have violated their procedural duty to provide the reasons and

bases for their decisions.




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       71.    The Court should therefore hold unlawful and set aside OFAC’s and State’s

imposition of sanctions on Plaintiffs. In addition, having refused to provide any portion of

the administrative record to Plaintiffs, the Court should order that the administrative record

is limited to what Defendants have released publicly prior to the filing of this lawsuit.

                                  COUNT IV
             VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT—
                     EFFECTIVE REFUSAL TO RECONSIDER
                            (AGAINST OFAC ONLY)

       72.    Paragraphs 1 through 71 are re-alleged and incorporated by reference as

though fully set forth therein.

       73.    Under 31 C.F.R. § 501.807, Plaintiffs may seek reconsideration of their

designation by submitting “arguments or evidence that [they] believe[] establishes that

insufficient basis exists for the designation.”

       74.    Defendants’ failure to provide Plaintiffs with any additional information

relating to their designations vitiates the procedural rights granted in 31 C.F.R. § 501.807.

       75.    Absent the reasons and bases for Defendants’ decisions, Plaintiffs have no

ability to effectively respond to or refute Defendants’ generalized assertions.

       76.    Defendants had ample time to produce the “administrative record” upon

which they relied but declined to do so, despite repeated requests, until after this litigation

commenced and they were forced by court rule to provide that evidence. Even then,

Defendants produced scant portions of that record, redacting virtually every bit of

information and leaving only one Internet citation to a notoriously unreliable website.

Defendants have therefore failed to provide any meaningful bases for their decisions.




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        77.    Defendants’ failure to produce the “administrative record” or any other

records demonstrating a good faith basis for Plaintiffs’ designations represents behavior

that is arbitrary, capricious and contrary to law.

        78.    As a result of Defendants’ delays, Plaintiffs have been deprived of their

ability to effectively seek reconsideration of their designations and deprived of their rights

under section 501.807.

        79.    Accordingly, the Court should order that the administrative record is limited

to what Defendants have released publicly prior to the filing of this lawsuit.

                                   PRAYER FOR RELIEF

        Wherefore, Plaintiffs pray for the Court to provide the following relief:

        1.     Hold unlawful and set aside OFAC’s and State’s imposition of sanctions on

Plaintiffs.

        2.     Order that the full and complete administrative record is comprised only of

the June 2, 2021 press releases issued by State and OFAC, and the June 8, 2021 Federal

Register notice.

        3.     Permanently enjoin Defendants from imposing sanctions of the type and

nature against the Plaintiffs.

        4.     Enter judgment in Plaintiffs’ favor on all counts.

        5.     Award Plaintiffs their attorneys’ fees and costs;

        6.     Any other such relief as the Court deems just and proper.




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Dated: January 9, 2023          Respectfully submitted,

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